sHs44 (Rev 207) Cage 2:14-cv-04521-TGRV IDG OER SHEREG 07/29/14 Page 1 of 15

The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) =

i. (a) PLAINTIFFS DEFENDANTS

Syrena Gathright TN Ward Company, David Panichi, David Tarditi, Gary

Pergolini, Mark Smith, Thomas Falvey g
(b) County of Residence of First Listed Plaintiff Philadelphia County of Residence of First Listed Defendant Montgomery
{EXCEPT IN US. PLAINTIFF CASES} (IN US. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED. :
(c) Attorney’s (Firm Name, Address, atid Telephone Number) Attorneys (if Known}
Noah S. Shapiro, Esq., David F. McComb, Esq., Zarwin, Baum

1818 Market St., 13th Fi., Phila., PA 19103 (215) 569-2800 gg}
ll. BASIS OF JURISDICTION — (Place an “X” in One Box Only} Til. CITIZENSHIP OF PRINCIPAL PARTIES (lace an “x” in One Box for Plaintiff

{For Diversity Cases Only} and One Box for Defendaat)
1 US. Government 3 3 Federal Question PTF DEF PTF DEF
Plaintiff iUS. Gevermment Not a Party} Citizen of This State 4 10 © 1 Incorporated or Principal Place 74 a4

of Business In This State

2 US. Government 44° Diversity Citizen of Another State 2 2  Incorparated and Principal Place 95 45
Defendant (indicate Citizenship of Parties in item 1) of Business In Another State
Citizen or Subject of a 93 © 3. Foreign Nation 76 6
Foreign Country

7) 110 Insurance PERSONAL INJURY PERSONALINJURY = [£) 610 Aggiculture £3 422 Appeal 28 USC 158 4} 400 State Reapportionment
CF 420 Marine {3 310 Airplane {J 362 Personal Injury - *F 620 Other Food & Drug fF 423 Withdrawal G 410 Antinist
23 130 Miller Act fF 315 Airplane Product Med. Malpractice 17} 625 Drug Related Seizure 28 USC 137 OD 430 Banks and Banking
2 140 Negotiable Instrument Liability J 365 Personal Injury - of Property 21 USC 881 J 450 Commerce
£9 150 Recovery of Overpayment {7} 320 Assauit, Libel & Product Liability oF 630 Liquor Laws EB 2 Aly 460 Deportation
& Enforcement of Jud; Sjander £3 368 Asbestos Personal =| 9 B40 RR. & Truk 1 820 Copyrights J 470 Racketeer Influenced and
fF 13} Medicare Act “J 336 Federal Employers’ Injury Preduct £F 650 Airline Regs. & 830 Patent Comupt Organizations
1 152 Recovery of Defaulted Liability Liability & 660 Occupational oF 840 Trademark 3} 480 Consumer Credit
Stndeat Loans [9-340 Marine PERSONAL PROPERTY Safety/Health 23 490 Cable/Sat TY
(Exel. Veterans) 348 Marine Product 1 370 Other Fraud 690 Other __ 2 810 Selective Service
£3) 153 Recovery of Overpayment Liability 1 371 TothinLending  [zeZ7Z2 224 ZO i e171 850 Seeurities‘Commedities?
of Veteran's Benefits 1 350 Motor Vehicle J 386 Other Personal =) 710 Fair Labor Standards oF 861 HIA (395ff) Exchange
£3 160 Stackholders’ Suits 4 355 Motor Vehicle Property Damage Act £F 862 Black Lung (923) 3 875 Customer Challenge
£3 190 Other Contract Product Liability 3 385 Property Damage = {9-720 Labor/Mymt. Relations [49 863 DIWC/DIWW (465(g)) 12 USC 3410
F195 Contract Product Liability [71 360 Other Personal Product Liability £3 730 Labor/Mgmt Reporting [7] 864 SSID Title XVI 53 890 Other Statutory Actions
fo) 196 Franchise tne ee & Disclosure Act 865 RSI (405(¢)) 42 89} Agricultural Acts
epee 4 3 55-40) 740 Railway Labor Act 47 892 Economic Stabilization Act

#210 Land Condemnation 3 [3 330 Motions to Vacate {01790 Other Labor Lingafion |) 870 Taxes (U 893 Environmental Matters
*F 226 Foreclosure M442 Employment Sentence 5 791 Empl. Ret. Inc. or Defen oT 894 Energy Allocation Act
fF 230 Rent Lease & Ejectment |) 443 Housing/ Habeas Corpus; Security Act & 871 IRS—Third Party 3 895 Freedom of information
& 240 Torts to Land Accommodations oF 530 General ee _.. 26 USC 7669 Act
£4 245 Tort Product Liability 444 Welfare EF 535 Death Penalty SOAS | 5} 9G0Appeal of Fee Determination
CF 290 Alf Other Real Property {£3 445 Amer. w/Disabilities- (540 Mandamus & Other {& 462 Naturalization Application Under Equal Access
Employment cA 550 Civil Rights 3 463 Habeas Corpus - to Justice
[} 446 Amer. w/Disabilities - [9 555 Prison Condition Alien Detainee 4 956 Congitutionality of
Other & 465 Other Immigration State Statutes
3 440 Other Civil Rights Actions
¥. ORIGIN {Place an “X” in One Box Only} Appeal to District
1 Original CI 2 Removed from C} 3 Remanded from C1 4 Reinstatedor 0 5 Transferred from § Multidistrict 9 7 Judge from
Proceeding State Court Appellate Court Reopened another district Litigation Magistrate
(specify) Judgment

.|Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
OSE FF 260) €)- Seg,

VI. CAUSE OF ACTION

Brief description of cause: _ A . “ . zc
Zarerterence and hetehornys pader LLILA

Vil. REQUESTEDIN 9 CHECKIFTHISISACLASS ACTION | DEMANDS CHECK YES only if demanded in complaint
COMPLAINT: UNDER F.R.C.P. 23 Mir JURYDEMAND: = @ Yes No
VULL RELATED CASE(S) See instructions:
IF ANY (eee mernuetions): JUDGE DOCKETNUMBER
DATE SIGNATURE OF ATTORNEY GF RECORD ~
07/29/2014
FOR OFFICE USE ONLY

MAG. JUDGE

RECEIPT # AMOUNT : APPLYING IFP
UNITED STATES DISTRICT COURT

Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page2of15—
FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM ta be used by counsel fo indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plainufe, Syrena Gathright, 1121 Shackamaxon St., Philadelphia, PA 19125

See Attached List

Address of Defendant:

Place of Accident, incident or Transaction: Ard ano se - PA
* (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

{Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1{a)) Yes] NoEK
Does this case involve multidistrict litigation possibilities? YesO Nob
RELATED CASE, IF ANY:

Case Number: Judge : Date Terminated:

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

Yes No kd

be

. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated

action in this court?
Yes 0 Nol
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

yes] no

terminated action in this court?

4, Js this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

Yes Noll

CIVIL: (Place W in ONE CATEGORY ONLY)

A. Federal Question Cases: B. Diversity Jurisdiction Cases:

1. G Indemnity Contract, Marine Contract, and All Other Contracts 1. 0 Insurance Contract and Other Contracts

2. O FELA 2. O Airplane Personal Injury

3. G Jones Act-Personal Injury 3. © Assault, Defamation

4, © Antitrust 4. O Marine Personal Injury

5. & Patent 5. O Motor Vehicle Personal Injury

6. G Labor-Management Relations 6, 0 Other Personal Injury (Please
specify)

7. O Civil Rights 7, 0 Products Liability

8. 0 Habeas Corpus 8. O Products Liability — Asbestos

9. 0 Securities Act(s) Cases 9. O All other Diversity Cases

10.6 Social Security Review Cases {Please specify)

11, @ All other Federal Question case EA L A)
{Please specify) ,
ARBITRATION CERTIFICATION
sf : (Check Appropriate Category)
lg N ons S bap td counsel of record do hereby certify:

x Pursuant to Local Civil Rute 53,2, Section 3{c)(2). that to the best of my knowledge and belief. the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs:

G Relief other than monetary damages is sought. :
pate:__ 7728 -f¢ forA— VOC4ESS

Attorney-at-Law NX Attomey 1.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as nated above.

pate: 77 BTL Ain — ROELSS

Attorney-at-Law MN Attomey 1.D#

CIV. 609 (6/08)
Case 2:14-cv-04521-TJR Documenti Filed 07/29/14

TN Ward Company
129 Coulter Ave.
Ardmore, PA 19003

David Panichi
150 Kingston Rd.
Media, PA 19063

David Tarditi
113 Stafford Dr.
Penllyn, PA 19422

Gary Pergolini
117 Ellis Rd.
Havertown, PA 19083

Mark Smith
3505 Saint Davids Rd.
Newtown Square, PA 19073

Thomas Falvey
41 Ridgeview Rd.
Newtown Square, PA 19073

Defendants’ Address List

Page 3 of 15
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page 4of15
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
Syrena Gathright . CIVIL ACTION

y.
TN Ward Company, David Panichi,

David Tarditi, Gary Pergolini, Mark Smith .- NO.
and Thomas Falvey

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track

to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security ~ Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration ~ Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos ~ Cases involving claims for personal injury or property damage from
exposure to asbestos.

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management — Cases that do not fall into any one of the other tracks.

( )

( )
( )

( )

()
®

07/29/2014 Noah S. Shapiro, Esquire Plaintiff
Date Attorney-at-law Attorney for
215-569-2800 215-569-1606 nshapilro@zarwin.com
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page5of15

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SYRENA GATHRIGHT : CIVIL ACTION
1121 Shackamaxon St. :

Philadelphia, PA 19125
Plaintiff,

Vv.
No.

TN WARD COMPANY

129 Coulter Ave.

Ardmore, PA 19003

-and-

DAVID PANICHI
150 Kingston Rd.
Media, PA 19063

-and-

DAVID TARDITI
113 Stafford Dr.
Penllyn, PA 19422

-and-

GARY PERGOLINI
117 Ellis Rd.
Havertown, PA 19083

-and-

MARK SMITH
3505 Saint Davids Rd.
Newtown Square, PA 19073

-and-

THOMAS FALVEY

41 Ridgeview Rd. :

Newtown Square, PA 19073 : JURY TRIAL DEMANDED
Defendants. :

Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page 6of15

COMPLAINT
Plaintiff, Syrena Gathright (“Gathright”) brings this Complaint for damages against
defendants TN Ward Company (“ITN Ward’), David Panichi (“Panichi”), David Tarditi
(“Tarditi’), Gary Pergolini (“Pergolini”), Mark Smith (“Smith”) and Thomas Falvey (“Falvey”).

I. JURISDICTION

1. The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1337 and 29
U.S.C. § 2617(a), and pursuant to 42 U.S.C. § 2000e-5(f), this being an action under the Family
and Medical Leave Act (“FMLA”), 29 U.S.C. §§ 2601 et seq. This action arose in this District as
itis where plaintiff resides and where she was employed by defendant TN Ward.

Hi. PARTIES

2. Plaintiff Gathri ght, is a female individual who resides in Philadelphia, Pennsylvania at
1121 Shackamaxon Street, Philadelphia, PA 19125.

3. Defendant TN Ward Company (hereinafter, TN Ward) is a Pennsylvania corporation with
a registered office address of 125 Coulter Ave, Ardmore, PA 19003, and principal place of
business located at 129 Coulter Ave, Ardmore, PA 19003. At all times relevant hereto,
Defendant TN Ward employed more than 50 people. TN Ward is engaged in the business of
construction and construction management.

4. Defendant Panichi is an individual who was, at all times relevant hereto, the
Chairman of the Board of Defendant TN Ward, with a home address of 150 Kingston Rd. ,
Media, PA 19063 and a business address of 129 Coulter Ave, Ardmore, PA 19003.

5. Defendant Tarditi is an individual who was, at all times relevant hereto, the Vice
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page 7of15

President of Finance of Defendant TN Ward with a home address of 113 Stafford Dr., Penllyn,
PA 19422 and a business address of 129 Coulter Ave, Ardmore, PA 19003,

6. Defendant Pergolini is an individual who was, at all times relevant hereto, the Vice
President of Operations of Defendant TN Ward with a home address of 117 Ellis Rd.,
Havertown, PA 19083and a business address of 129 Coulter Ave, Ardmore, PA 19003.

7. Defendant Smith is an individual who was, at all times relevant hereto, the
Controller of Defendant TN Ward with a home address of 3505 Saint Davids Rd., Newtown
Square, PA 19073 and a business address of 129 Coulter Ave, Ardmore, PA 19003.

8. Defendant Falvey is an individual who was, at all times relevant hereto, the President
of Defendant TN Ward with a home address of 41 Ridgeview Rd., Newtown Square, PA 19073
and a business address of 129 Coulter Ave, Ardmore, PA 19003.

9. Each Defendant is an employer as defined by the FMLA, 42 U.S.C. § 2000e(b).

Iii. FACTS

10. In April, 2008, Gathright became employed by TN Ward as a Project Manager.

11. Gathright’s duties as a Project Manager included oversight of all aspects of
construction throughout a project, budget management, processing change orders, developing
and maintaining a construction schedule, coordinating meetings with various agencies and

parties, execution of subcontract agreements, attendance at pre-bid meetings, the procurement
of necessary permits and conducting regular site visits and inspections to ensure construction
project progress.

12. During her employment with TN Ward, Gathright had at all times well and properly
performed the duties and responsibilities of her position of Project Manager and received a pay

raise and a favorable performance review.
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page 8of15

11. During her employment with TN Ward as a Project Manager Gathright had
exercised her FMLA rights in connection with a knee surgery in 2012.

12. Subsequently, beginning on September 19, 2013, while employed as a Project
Manager at TN Ward, Gathright began FMLA leave in connection with a hip surgery.

13. Specifically, on September 23, 2013, Gathright underwent a right anterior column
non-union takedown, removal of hardware and heterotipic ossification excision at the Hospital of
the University of Pennsylvania in connection with her hip dysplasia. She was hospitalized from
September 23 until September 26, 2013, at which time she was discharged to home with
instructions for follow-up care.

i4. | While out on FMLA leave, Gathright was provided with discharge papers
regarding her surgery as well as several doctor’s notes confirming her need for surgery and after
care as well as her inability to return to work.

15. The first such doctor’s note, dated October 22, 2013, stated that Gathright was
under the care of Samir Mehta, MD, Chief, Trauma and Fracture Service at Hospital of the
University of Pennsylvania after having surgery on September 23, 2013, and that she was unable
to work and would be re-evaluated on November 12, 2013.

16. The second such doctor’s note, dated November 12, 2013, stated that Gathright
was re-evaluated, that she was still unable to return to work at this time, and that she would be
re-evaluated in six weeks.

17. The third such doctor’s note, dated December 3, 2013, stated that Gathright was
able to return to work on December 11, 2013 but only in light duty capacity, that she was able to
do desk work, was unable to lift or carry more than two pounds, and she was able to walk up and

down steps as tolerated.
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page9of15

18. All of these notes were provided to TN Ward prior to Gathright’s discharge from
TN Ward.

19. Specifically, Gathright’s discharge papers and doctor’s notes of October 22, 2013
and November 12, 2013 were sent to Defendant Smith by text messages on: October 17, 2013;
December 1, 2013; and December 3, 2013.

20.  Gathright’s doctor’s note of December 3, 2012 was sent to TN Ward by her
doctor’s office by facsimile on December 3, 2013.

21. | While out on FMLA leave Plaintiff learned that she would require further surgery
in the form ofa full hip replacement toward the end of January of 2014 and would again be
required to take FMLA leave.

22. Gathright advised Defendant Smith of her need for further surgery to occur in
January of 2014 by email on December 3, 2013.

23. ‘TN Ward’s FMLA leave operated on a calendar year basis thereby entitling
Gathright to exercise her FMLA rights in connection with her January 2014 hip replacement.

24. Onor about December 4, 2013, Defendant Smith stated to plaintiff over the phone
that he had heard that she had been “out dancing” while on FMLA leave. Gathright immediately
denied these allegations.

25.  Onor about December 5, 2013 Defendant Smith confirmed in an email to
Gathright that TN Ward claimed to have received information indicating that she had
“participated in activities that appear to be inconsistent with the leave and the reasons for the
leave.” Gathright responded and advised Defendant Smith that she had not engaged in any
activities inconsistent with the restrictions placed on her by her surgeon.

26. Gathright remained on FMLA leave until December 11, 2013.
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page10of15

27. Upon her return to work on December 11, 2013 Gathright was called into a
meeting with Defendants Smith and Tarditi and advised that she was being terminated from her
employment as a Project Manager at TN Ward.

28. The reason given to Gathright for her termination from employment with TN
Ward was that it was believed that she could have returned to work from her FMLA leave earlier
than she did and TN Ward claimed to have received information that Gathright had engaged in
activities during her FMLA leave that were inconsistent with her need for and the purpose of her
leave.

29. Gathright was sent home after the meeting and told not to bother coming in for
the remainder of the week.

30. Later that same day Gathright received an email from Defendant Tarditi
requesting that she sign a separation agreement stating her termination was effective as of
December 16, 2013 and requesting a waiver of any and all potential employment actions by her
against TN Ward.

31. Thereafter, on December 20, 2013 Defendant Tarditi sent email correspondence
to Gathright stating: “We no longer have a position for you at TN Ward based upon the events
that occurred while you were on FMLA leave which we believe show that you could have
returned to work at an earlier date.”

32. Gathright believes and therefore avers that Defendants Smith, Tarditi, Pergolini,
Panichi and Falvey made the decision to terminate her employment.

33. By terminating Gathright’s employment, Defendants Smith, Tarditi, Pergolini,
Panichi and Falvey were acting directly in the interests of Defendant TN Ward.

34. Defendant TN Ward terminated Gathright’s employment.
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page 11of 15

35. Gathright had at all times well and properly performed the duties and
responsibilities of her position of Project Manager and there was no legitimate basis for
defendants to have terminated her employment.

36. Rather, the Defendants terminated Gathright in bad faith, without an objectively
reasonable grounds for doing so, and in retaliation for her having properly exercised her FMLA
rights and in an attempt to interfere with her ability to again exercise said rights in the coming
calendar year.

37. In order to avoid potential liability for violating Gathright’s FMLA rights
defendants manufactured a false pretense under which to fire Gathright, specifically defendants
fired Gathright on the basis of nothing more than a Facebook posting.

38. The Facebook posting in question is a photograph showing Gathright in a bar. The
commentary on the photo states “About to get our dance on!!” Gathright did not dance that
evening, or at any time during her FMLA leave as she was physically incapable of doing so due
to her undisputable physical limitations. Rather, Gathright watched her friends dance and
otherwise socialized with them at the bar.

39, | TN Ward undertook no good faith investigation into this matter and lacked
objectively reasonable grounds for Gathright’s termination or for believing the termination was
not a violation of Gathright’s FMLA rights.

40. Rather, as demonstrated in emails between Gathright and Defendant Smith from
November 22 through December 6, 2013 beginning on November 25, 2013 Defendant TN Ward
suspended Gathright’s short term disability payments without notice to her and for the first time

requested that she provide additional medical documentation of her current medical status.
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page 12of15

41. Inthe midst of these email exchanges on December 4, 2013 Defendant Smith
spoke to Gathright over the phone and questioned Gathright regarding her disability status
despite having been provided with all requested medical documentation clearly demonstrating
Gathright’s current medical condition including her physical limitations and ability to return to
work. During this phone conversation and in a follow up email of December 5, 2013 Gathright
advised Defendant Smith that she had not engaged in any activity inconsistent with her disability
claim or contrary to her surgeon’s instructions.

42. In an email of December 5, 2013 Defendant Smith responded by stating that he
was obligated to investigate when information is received indicating an employee may be
engaging in activities inconsistent with their medical leave, and further stated that following his
questioning of Gathright and his receipt of medical documentation confirming Gathright’s
medical status and inability to return to work, Gathright would be sent her disability check.

43, In a December 6, 2013 email Defendant Smith again confirmed that after having
received medical documentation confirming Gathright’s medical status and inability to return to
work it was determined that Gathright’s disability claim was valid and that her disability
payments had been reinstated.

44, Nonetheless, on December 11, 2013, without any further investigation and in the
absence of any further information upon which to draw a conclusion contrary to Defendant
Smith’s determination of just days earlier, defendants fired Gathright for allegedly having
engaged in activities inconsistent with her need for FMLA leave during her FMLA leave.

45. Defendants’ actions were undertaken in bad faith and for an improper purpose,
namely to violate Gathright’s rights under the FMLA. Defendants’ actions where undertaken in

the absence good faith and objectively reasonable grounds for believing their actions did not
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page13o0f15

violate Gathright’s FMLA rights. Defendants further failed to make a good faith effort to
investigate the factual circumstances surrounding Gathright’s termination to determine the
existence of objectively reasonable grounds for the termination.

COUNT I

FMLA — INTERFERENCE

46. The allegations contained in Paragraphs 1 through 45 of this Complaint are
incorporated herein and re-alleged as if fully set out.

47.  Atall times relevant hereto, Gathright was an “eligible employee” within the
meaning of the FMLA.

48. At all times relevant hereto, each defendant was an “employer” within the
meaning of the FMLA.

49. Gathright was entitled to leave under the FMLA for her hip surgeries and
recovery therefrom.

50. By terminating the employment of plaintiff as aforesaid, defendants unlawfully
interfered with, restrained and denied her the exercise and attempt to exercise her rights under
the FMLA.

51. The actions of defendants were not taken in good faith.

WHEREFORE, plaintiff prays for judgment against all defendants in the amount of her
lost wages and benefits, for an equal amount as liquidated damages, for an appropriate amount as
front pay, for interest on the amounts awarded, and for all other relief that is just, including an

award of her counsel fees and costs.
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page 14 of 15

COUNT II
FMLA — RETALIATION

52. The allegations contained in Paragraphs 1 through 51 of this Complaint are
incorporated herein and re-alleged as if fully set out.

53. At all times relevant hereto, Gathright was an “eligible employee” within the
meaning of the FMLA.

54. At all times relevant hereto, each defendant was an “employer” within the
meaning of the FMLA.

55. Gathright was entitled to leave under the FMLA for her hip surgeries and
recovery therefrom.

56. By terminating the employment of plaintiff as aforesaid, defendants unlawfully
retaliated against plaintiff for her exercise and attempt to exercise her rights under the FMLA.

57. The actions of Defendants were not taken in good faith.

WHEREFORE, plaintiff prays for judgment against all defendants in the amount of her
lost wages and benefits, for an equal amount as liquidated damages, for an appropriate amount as
front pay, for interest on the amounts awarded, and for all other relief that is just, including an

award of her counsel fees and costs.

10
Case 2:14-cv-04521-TJR Document1 Filed 07/29/14 Page15of15

DATED:

July 25, 2014

il

Respectfully submitted a

An ~
NOAH S. SHAPIRO” >
PA. LD. No. 206483 \

nshapiro@zarwin.com
DAVID F. McCOMB
PA. ID. No 35754

dfmecomb@zarwin.com

ZARWIN, BAUM, DeVITO, KAPLAN,

SCHAER & TODDY, P.C.

1818 Market Street, 13" Floor
Philadelphia, PA 19103

Tel. 215-569-2800; Fax. 215-569-1606

Attorneys for Plaintiff
